 

Case 19-22142 Doc5 Filed 09/11/19 Page1 of 2

Fill in this information to identify your case:

Debtor 1 CHRISTIAN MARCIANO FLORES
First Name Middle Name Last Name

Zp!
Debtor 2 ROXANA MARITZA SOTOMAYOR culy SE, Poy
(Spouse, if filing) First Name Middle Name Last Name

  

United States Bankruptcy Court for the: DISTRICT OF MARYLAND owe,
She ‘6 We 4
Case number VES are cae at
: Check if this is an
(if known) amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/15
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If you are an individual filing under chapter 7, you must fill out this form if:
™ creditors have claims secured by your property, or
@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).

List Your Creditors Who Hold Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
fill in the information below.

Identify the creditor and the property that is collateral What do you intend to do with the Did you claim the property
property that secures a debt? as exempt on Schedule C?

Creditor's BANK OF AMERICA (1) Surrender the property. CJ No

name: [J Retain the property and redeem it. Cl Yes

Description of 9816 HELLINGLY PLACE #93 OO Retain the property and enter into a

property Reaffirmation Agreement.

securing debt: fy] Retain the property and [explain]:
Debtor will continue making payments to creditor without
reaffirming.

Creditor's CARRINGTON MORTGAGE SER () Surrender the property. [J No

name: CJ Retain the property and redeem it. OO Yes

Description of 48233 SWISS CIRCLE APT 1 [J Retain the property and enter into a

property Reaffirmation Agreement.

securing debt: J Retain the property and [explain]:
Debtor will continue making payments to creditor without
reaffirming.

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Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)

Identify the creditor and the Property that is collateral What do you intend to do with the Did you claim the property
property that secures a debt? as exempt on Schedule C?

Creditor's CHRISTOPHER COURT CONDOMINIUM (1) Surrender the property. ] No

name: (C1 Retain the property and redeem it. OO Yes

Description of 18233 SWISS CIRCLE APT 4 oO Retain the property and enter into a

property Reaffirmation Agreement.

securing debt: Retain the property and [explain]:

Debtor will continue making payments to creditor without

reaffirming.
Creditor's FARMINGDALE CONDO INC (] Surrender the property. O No
name: (1 Retain the property and redeem it. O Yes
Description of 9816 HELLINGLY PLACE #93 [) Retain the property and enter into a
property Reaffirmation Agreement.

Retain the property and [explain]:
Debtor will continue making payments to creditor without
reaffirming.

Ee ust Your Unexpired Personal Property Leases

is

securing debt:

Describe your unexpired Personal property leases Will this lease be assumed?

None.

Under penalty of perjury, | declare that I have indicated my intention about Ce of my estate that secures a debt and

   

Personal property that is subject to an unexpired lease

   
  

 

 

     
 

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CHRISTIAN MARCIANG’FLORES, Debtor 1 ARITZA SOPONIA

Date °F fox / xord
MM /DD/YYYY MM /DD/YYYY

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